                                  Case 19-11938-LSS                     Doc 1       Filed 09/04/19           Page 1 of 16



Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                uBiome, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          N/A
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  360 Langton Street
                                  San Francisco, CA 94103
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  San Francisco                                                     Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://ubiome.com/


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
     01:24994636.2
                                       Case 19-11938-LSS                 Doc 1         Filed 09/04/19              Page 2 of 16
Debtor    uBiome, Inc.                                                                                  Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                             Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6215

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
                                             Chapter 9
                                             Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12



9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
     01:24994636.2
                                Case 19-11938-LSS                     Doc 1       Filed 09/04/19            Page 3 of 16
Debtor   uBiome, Inc.                                                                            Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No
                                               Yes Insurance agency
                                                       Contact name
                                                       Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                50,001-100,000
                                    100-199                                         10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
    01:24994636.2
                                  Case 19-11938-LSS                   Doc 1        Filed 09/04/19             Page 4 of 16
Debtor   uBiome, Inc.                                                                              Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       09/04/2019
                                                  MM / DD / YYYY


                             X /s/ Curtis G. Solsvig III                                                  Curtis G. Solsvig III
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Acting Chief Executive Officer




18. Signature of attorney    X    /s/ Michael R. Nestor                                                    Date    09/04/2019
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Michael R. Nestor
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square
                                 1000 N. King Street
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 571-6600                Email address      mnestor@ycst.com

                                 3526 (DE)
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
    01:24994636.2
                           Case 19-11938-LSS         Doc 1     Filed 09/04/19     Page 5 of 16



                                                WRITTEN CONSENT
                                                     OF THE
                                              BOARD OF DIRECTORS OF
                                                  uBIOME, INC.

                       THE UNDERSIGNED, being all of the members of the Board of Directors (the
                “Board”) of uBiome, Inc., a Delaware corporation (the “Company”), hereby consent to
                and adopt the following resolutions pursuant to Section 141(f) of the General Corporation
                Law of the State of Delaware, as of the date set forth below:

                               WHEREAS, the Board formed a special committee (the “Special
                       Transaction Committee”), composed of directors who are disinterested and
                       independent to consider, review, negotiate, and recommend for approval or
                       rejection of any Potential Transaction, including, but not limited to, any
                       debt financing (including debtor-in-possession financing in connection with
                       a restructuring); and

                       WHEREAS, the Special Transaction Committee has negotiated and
                       recommended to the Board approval of the postpetition financing, as
                       described further herein; and

                              WHEREAS, the Board has reviewed and considered the financial
                       and operational condition of the Company and the Company’s business on
                       the date hereof, including the historical performance of the Company, the
                       assets of the Company, the current and long-term liabilities of the
                       Company, the market for the Company’s assets, and credit market
                       conditions; and

                               WHEREAS, the Board has received, reviewed and considered the
                       recommendations of the senior management of the Company and the
                       Company’s legal, financial, and other advisors as to the relative risks and
                       benefits of pursuing a bankruptcy proceeding under the provisions of
                       chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

                               NOW, THEREFORE, BE IT:

                       Commencement and Prosecution of Bankruptcy Case

                               RESOLVED, that, in the judgment of the Board, it is desirable and
                       in the best interests of the Company, its creditors, stockholders and other
                       interested parties, that a voluntary petition (the “Petition”) be filed with the
                       United States Bankruptcy Court for the District of Delaware (the
                       “Bankruptcy Court”) by the Company commencing a case (the
                       “Bankruptcy Case”) under the provisions of the Bankruptcy Code; and it is
                       further


01:25022466.3
                   Case 19-11938-LSS          Doc 1    Filed 09/04/19      Page 6 of 16


                        RESOLVED, that each officer of the Company (each, an “Officer”
                and collectively, the “Officers”), be, and each of them, acting alone or in
                any combination, hereby is, authorized, directed and empowered, on behalf
                of the Company, to execute, acknowledge, deliver, and verify the Petition
                and to cause the same to be filed with the Bankruptcy Court at such time as
                such Officer may determine; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered on
                behalf of the Company, to execute, acknowledge, deliver and verify and file
                any and all petitions, schedules, statements of affairs, lists and other papers
                and to take any and all related actions that such Officers may deem
                necessary or proper in connection with the filing of the Petition and
                commencement of the Bankruptcy Case; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered from
                time to time in the name and on behalf of the Company, to perform the
                obligations of the Company under the Bankruptcy Code, with all such
                actions to be performed in such manner, and all such certificates,
                instruments, guaranties, notices and documents to be executed and
                delivered in such form, as the Officer performing or executing the same
                shall approve, and the performance or execution thereof by such Officer
                shall be conclusive evidence of the approval thereof by such Officer and by
                the Company; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered from
                time to time in the name and on behalf of the Company, to cause the
                Company to enter into, execute, deliver, certify, file, record and perform
                such agreements, instruments, motions, affidavits, applications for
                approvals or rulings of governmental or regulatory authorities, certificates
                or other documents, to pay all expenses, including filing fees, and to take
                such other actions, as in the judgment of such Officers, shall be necessary,
                proper and desirable to prosecute to a successful completion the
                Bankruptcy Case and to effectuate the restructuring or liquidation of the
                Company’s debt, other obligations, organizational form and structure and
                ownership of the Company, all consistent with the foregoing resolutions
                and to carry out and put into effect the purposes of these resolutions, and
                the transactions contemplated by these resolutions, their authority thereunto
                to be evidenced by the taking of such actions; and it is further

                Retention of Professionals

                       RESOLVED, that the law firm of Young Conaway Stargatt &
                Taylor, LLP (“Young Conaway”) be, and hereby is, authorized, directed
                and empowered to represent the Company as bankruptcy counsel to
                represent and assist the Company in carrying out its duties under the
01:25022466.3
                   Case 19-11938-LSS         Doc 1     Filed 09/04/19     Page 7 of 16


                Bankruptcy Code, and to take any and all actions to advance the
                Company’s rights, including the preparation of pleadings and filings in its
                Bankruptcy Case; and in connection therewith, the Officers be, and each of
                them, acting alone or in any combination, hereby is, authorized, directed
                and empowered, on behalf of and in the name of the Company to execute
                appropriate retention agreements, pay appropriate retainers prior to and
                immediately upon the filing of the Bankruptcy Case, and to cause to be
                filed an appropriate application for authority to retain the services of Young
                Conaway; and it is further

                        RESOLVED, that Goldin Associates, LLC (“Goldin”) be, and
                hereby is, authorized, directed and empowered to provide the Company
                with certain officers, along with additional personnel, as restructuring
                advisors to represent and assist the Company in carrying out its duties
                under the Bankruptcy Code, and to take any and all actions to advance the
                Company’s rights and obligations in connection with the Bankruptcy Case;
                and in connection therewith, the Directors be, and each of them, acting
                alone or in any combination, hereby is, authorized, directed, and
                empowered, on behalf of and in the name of the Company, to execute
                appropriate retention agreements, pay appropriate retainers, if required,
                prior to and immediately upon the filing of the Bankruptcy Case, and to
                cause to be filed an appropriate motion or application for authority to retain
                the services of Goldin; and it is further

                        RESOLVED, that GLC Advisors & Co., LLC and GLCA
                Securities, LLC (collectively, “GLC”) be, and hereby is, authorized,
                directed and empowered to serve as investment banker to represent and
                assist the Company in connection with the potential sale of the Company’s
                business and in carrying out its duties under the Bankruptcy Code and to
                take any and all actions to advance the Company’s rights and obligations in
                connection with the Bankruptcy Case; and in connection therewith, the
                Officers be, and each of them, acting alone or in any combination, hereby
                is, authorized, directed, and empowered, on behalf of and in the name of the
                Company, to execute appropriate retention agreements, pay appropriate
                retainers, if required, prior to and immediately upon the filing of the
                Bankruptcy Case, and to cause to be filed an appropriate application for
                authority to retain the services of GLC; and it is further

                        RESOLVED, that Donlin Recano & Company, Inc. (“Donlin”) be,
                and hereby is, authorized, directed and empowered to serve as the notice,
                claims, solicitation and balloting agent in connection with the Bankruptcy
                Case; and in connection therewith, the Officers be, and each of them, acting
                alone or in any combination, hereby is, authorized, directed and
                empowered, on behalf of and in the name of the Company to execute
                appropriate retention agreements, pay appropriate retainers, if required,
                prior to and immediately upon the filing of the Bankruptcy Case, and to
                cause to be filed an appropriate application for authority to retain the
                services of Donlin; and it is further
01:25022466.3
                   Case 19-11938-LSS           Doc 1    Filed 09/04/19      Page 8 of 16



                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company to employ any other individual
                and/or firm as professionals, consultants, financial advisors, or investment
                bankers to the Company as are deemed necessary to represent and assist the
                Company in carrying out its duties under the Bankruptcy Code, and in
                connection therewith, the Officers be, and each of them, acting alone or in
                any combination, hereby is, authorized, directed and empowered, on behalf
                of and in the name of the Company to execute appropriate retention
                agreements, pay appropriate retainers prior to and immediately upon the
                filing of the Bankruptcy Case, and to cause to be filed an appropriate
                application for authority to retain the services of such firms; and it is further

                Postpetition Financing

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company to obtain post-petition financing
                according to terms negotiated, or to be negotiated, by the Special
                Transaction Committee and the management of the Company, including
                under debtor-in-possession credit facilities or relating to the use of cash
                collateral, if any; and to enter into any guarantees and to pledge and grant
                liens on its assets as may be contemplated by or required under the terms of
                such post-petition financing or cash collateral agreements; and in
                connection therewith, the Officers be, and each of them, acting alone or in
                any combination, hereby is authorized and directed to execute appropriate
                loan agreements, cash collateral agreements and related ancillary
                documents; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to secure the payment and
                performance of any post-petition financing by (i) (a) pledging or granting
                liens or mortgages on, or security interests in, all or any portion of the
                Company’s assets, including all or any portion of the issued and
                outstanding membership interests of any subsidiaries of the Company,
                whether now owned or hereafter acquired, and (b) causing any subsidiary
                of the Company, if any, to pledge or grant liens or mortgages on, or security
                interests in, all or any portion of such subsidiary’s assets, whether now
                owned or hereafter acquired, and (ii) entering into or causing to be entered
                into, including, without limitation, causing any subsidiaries of the Company
                to enter into, such credit agreements, guarantees, other debt instruments,
                security agreements, pledge agreements, control agreements, inter-creditor
                agreements, mortgages, deeds of trust, and other agreements as are
                necessary, appropriate or desirable to effectuate the intent of, or matters
                reasonably contemplated or implied by, this resolution in such form,
                covering such collateral and having such other terms and conditions as are
01:25022466.3
                   Case 19-11938-LSS        Doc 1    Filed 09/04/19     Page 9 of 16


                approved or deemed necessary, appropriate, or desirable by the Officer
                executing the same, the execution thereof by such Officer to be conclusive
                evidence of such approval or determination; and it is further

                Sale

                       RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to continue after
                commencement of the Bankruptcy Case the marketing for sale of the
                Company’s assets and pursuing negotiations with any interested parties
                regarding one or more sales of such assets pursuant to Section 363 of the
                Bankruptcy Code or otherwise, in each case subject to further authorization
                of the Board or the Special Transaction Committee, as applicable, of any
                such sale; and it is further

                General Resolutions

                        RESOLVED, that all actions heretofore taken, and all agreements,
                instruments, reports and documents executed, delivered or filed through the
                date hereof, by any manager or Officer of the Company in, for and on
                behalf of the Company, in connection with the matters described in or
                contemplated by the foregoing resolutions, are hereby approved, adopted,
                ratified and confirmed in all respects as the acts and deeds of the Company
                as of the date such action or actions were taken; and it is further

                       RESOLVED, that facsimile or photostatic copies of signatures to
                this consent shall be deemed to be originals and may be relied on to the
                same extent as the originals.



                                           * * * * *




01:25022466.3
                      Case 19-11938-LSS          Doc 1      Filed 09/04/19       Page 10 of 16




                 This Written Consent shall be filed in the Minute Book of the Company and shall become
         a part of the records of the Company.

         Date: September 2, 2019



                                                       BOARD:


                                                       /s/ Kimberly Scotti_______________
                                                       Kimberly Scotti



                                                       /s/ L. Spencer Wells______________
                                                       L. Spencer Wells



                                                       /s/ D.J. (Jan) Baker______________
                                                       D.J. (Jan) Baker




01:25022466.3
                                uBiome – Signature Page to Board Consent (ch. 11 filing)
                                Case 19-11938-LSS                 Doc 1      Filed 09/04/19        Page 11 of 16


Fill in this information to identify the case:

Debtor name: uBiome, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-_____

                                                                                                                                 ¨ Check if this is an
                                                                                                                                         amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                             12/15

A list of creditors holding the 30 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
Largest unsecured claims.

    Name of creditor and complete       Name, telephone number,       Nature of the       Indicate if Amount of unsecured claim
    mailing address, including zip      and email address of creditor claim               claim is    If the claim is fully unsecured, fill in only unsecured
    code                                contact                       (for example,       contingent, claim amount. If claim is partially secured, fill in
                                                                      trade debts,        unliqui-    total claim amount and deduction for value of
                                                                      bank loans,         dated, or collateral or setoff to calculate unsecured claim.
                                                                      professional        disputed
                                                                      services, and                   Total claim, if Deduction for Unsecured
                                                                      government                      partially            value of            claim
                                                                      contracts)                      secured              collateral or
                                                                                                                           setoff

1   Cigna                               Lauren Sgro (Thorsell)            Refund Claim      ¨C                                              $2,134,624.44
    900 Cottage Grove                   lauren.sgro@cigna.com
    W3SUI                               Tel: 860-226-1391                                   ¨U
    Hartford CT 06152                   Fax: 415-520-6698
                                                                                            þD
2   United Health Care                  Richard O'Connor                  Refund Claim      ¨C                                              $2,084,100.00
    United Payment Integrity, Attn:     Tel: 952-205-0846
    Recovery Investigations                                                                 ¨U
    4868 Georgia Hwy 85, Suite 206-A
    Forest Park GA 30297
                                                                                            þD
3   Horizon Blue Cross Blue Shield of   David Menendez
                                        david_menendez@horizonblue.com
                                                                          Refund Claim      ¨C                                              $1,435,431.31
    NJ
    P.O. Box 200145                                                                         ¨U
                                        Tel: 973-466-8318
    Newark NJ 07102
                                                                                            þD
4   BRJ Investments, LLC                Jeff                              Convertible       þC                                              $719,118.31
    2885 Sanford Avenue SW              jeff@osf.co                       Notes
    Grandville MI 49418                                                                     ¨U
                                                                                            þD
5   Blue Shield of California           Cheri Hahn                        Refund Claim      ¨C                                              $424,935.38
    Blue Shield of California Special   cheri.hahn@blueshieldca.com
    Investigations Unit                 Tel: 818-228-6142                                   ¨U
    6300 Canoga Avenue
    Woodland Hills CA 91367
                                        Fax: 844-660-6743
                                                                                            þD
6   Tricare West                                                          Refund Claim      ¨C                                              $402,253.70
    P.O. Box 202111                     Tel: 844-866-9378
    Florence SC 92502                                                                       ¨U
                                                                                            þD
7   Bioquimica, Cl S.A.                 Matias Gutierrez
                                        matias.gutierrez@bioquimica.cl
                                                                          Trade Payable     ¨C                                              $397,634.28
    Avenida Presidente Battle Y
    Ordoliez 3756                       Tel: +56 2 2225-2583                                ¨U
    Santiago
    Chile
                                                                                            ¨D



Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                             Page 1
                               Case 19-11938-LSS                    Doc 1         Filed 09/04/19       Page 12 of 16

Debtor    uBiome, Inc.                                                                                                Case number (if known) 19-_____

    Name of creditor and complete       Name, telephone number,       Nature of the           Indicate if Amount of unsecured claim
    mailing address, including zip      and email address of creditor claim                   claim is    If the claim is fully unsecured, fill in only unsecured
    code                                contact                       (for example,           contingent, claim amount. If claim is partially secured, fill in
                                                                      trade debts,            unliqui-    total claim amount and deduction for value of
                                                                      bank loans,             dated, or collateral or setoff to calculate unsecured claim.
                                                                      professional            disputed
                                                                      services, and                       Total claim, if Deduction for Unsecured
                                                                      government                          partially            value of            claim
                                                                      contracts)                          secured              collateral or
                                                                                                                               setoff

8   Covington & Burling LLP             Douglas Sprague                       Professional      ¨C                                              $313,446.83
    850 Tenth Street N.W.               dsprague@cov.com                      Services
    Washington DC 20001                 Tel: 415-591-6000                                       þU
                                                                                                ¨D
9   Arnold & Porter Kaye Scholer LLP    invoice@arnoldporter.com              Professional      ¨C                                              $311,804.32
    P.O. Box 759451                     Tel: 415-471-3100                     Services
    Baltimore MD 21275                  Fax: 415-471-3400                                       þU
                                                                                                ¨D
10 Kilpatrick Townsend                  Hyacinth Campbell                     Professional
                                        accountsreceivable@kilpatricktownsend.comServices
                                                                                                ¨C                                              $296,381.52
   PO Box 39000
   San Francisco CA 94139                                                                       ¨U
                                        Tel: 866-244-4934
                                                                                                ¨D
11 Ramsey & Ehrlich LLP                 Lauren Noga                           Professional      ¨C                                              $274,107.34
   800 Hearst Avenue                    lauren@ramsey-ehrlich.com             Services
   Albany CA 94710                      Tel: 510-548-3600                                       þU
                                        Fax: 510-291-3060
                                                                                                ¨D
12 Tricare                                                                    Refund Claim      ¨C                                              $273,029.60
   7700 Arlington Boulevard             Tel: 844-204-9351
   Suite 5101                                                                                   ¨U
   Falls Church VA 22042
                                                                                                þD
13 Kaiser Foundation Health Plan        Giang Le                              Refund Claim      ¨C                                              $270,655.29
   Kaiser Permanente, Attn: Regional    giang.t.le@kp.org
   Claims Recovery                      Tel: 858-614-3164                                       ¨U
   File 50187
   Los Angeles CA 90074
                                                                                                þD
14 Medica                               Barbara Horn                          Refund Claim      ¨C                                              $259,637.36
   P.O. Box 9310                        barbara.horn@medica.com
   Minneapolis MN 55440                 Tel: 952-992-3134                                       ¨U
                                                                                                þD
15 Orrick, Herrington & Sutcliffe LLP   John Bautista
                                        accountsreceivable@orrick.com
                                                                              Professional      ¨C                                              $233,401.14
   450 Howard Street                                                          Services
   San Francisco CA 94105               Tel: 304-231-2704                                       ¨U
                                        Fax: 304-231-2501
                                                                                                ¨D
16 Salesforce.com Inc                   Jason Foster                          Trade Payable     ¨C                                              $211,654.54
   P.O. Box 203141                      jason.foster@salesforce.com
   Dallas TX 75320                      Tel: 800-667-6389                                       ¨U
                                                                                                ¨D
17 Premera BCBS                                                               Refund Claim      ¨C                                              $211,213.19
   MS 229                               Tel: 800-364-2991
   P.O. Box 327                                                                                 ¨U
   Seattle WA 98111
                                                                                                þD
18 Growth IP                            admin@growthip.com                    Trade Payable     ¨C                                              $149,460.00
   13480 Chelly Court                   Tel: 323-609-3001
   San Diego CA 92129                                                                           ¨U
                                                                                                ¨D
19 Ecare India Private Limited          Deepak Kumar Sanghi                   Trade Payable     ¨C                                              $135,530.00
   B.R Complex, 2nd & 3rd Floor         deepak@ecareindia.com
   Woods Road No. 27/28                 Tel: 800-518-5013                                       ¨U
   Chennai
   India
                                                                                                ¨D

Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                  Page 2
                                 Case 19-11938-LSS                  Doc 1       Filed 09/04/19        Page 13 of 16

Debtor    uBiome, Inc.                                                                                               Case number (if known) 19-_____

    Name of creditor and complete     Name, telephone number,       Nature of the            Indicate if Amount of unsecured claim
    mailing address, including zip    and email address of creditor claim                    claim is    If the claim is fully unsecured, fill in only unsecured
    code                              contact                       (for example,            contingent, claim amount. If claim is partially secured, fill in
                                                                    trade debts,             unliqui-    total claim amount and deduction for value of
                                                                    bank loans,              dated, or collateral or setoff to calculate unsecured claim.
                                                                    professional             disputed
                                                                    services, and                        Total claim, if Deduction for Unsecured
                                                                    government                           partially            value of            claim
                                                                    contracts)                           secured              collateral or
                                                                                                                              setoff

20 Mayo Clinic Health plan                                                   Refund Claim      ¨C                                              $96,192.80
   4001 41st Street NW                Tel: 855-384-0001
   Rochester MN 55901                                                                          ¨U
                                                                                               þD
21 Harvard Pilgrim                    Christopher Walsh
                                      christopher_walsh@harvardpilgrim.org
                                                                             Refund Claim      ¨C                                              $83,100.00
   1600 Crown Colony Drive
   Quincy MA 02169                    Tel: 617-509-1727                                        ¨U
                                                                                               þD
22 Leydig, Voit & Mayer, LTD.         Joni Simmons                           Trade Payable     ¨C                                              $75,426.32
   1981 North Broadway                jsimmons@leydig.com
   Suite 310                          Tel: 925-482-0100                                        ¨U
   Walnut Creek CA 94596              Fax: 925-482-0110
                                                                                               ¨D
23 iDesIgnEDU, LLC                    Saleen Hearon
                                      saleen.hearon@idesignedu.org
                                                                             Trade Payable     ¨C                                              $75,000.00
   800 Jackson Street
   Suite 384                          Tel: 800-581-5418                                        ¨U
   Dallas TX 75202
                                                                                               ¨D
24 Aomb                               Rene Raggers                           Trade Payable     ¨C                                              $73,809.47
   P.O. Box 645                       mail@aomb,nl
   5600 AP Eindhoven                  Tel: +31(0)40-243-3715                                   ¨U
   Eindhoven
   Netherlands
                                      Fax: +31(0)40-243-4557
                                                                                               ¨D
25 Mintz, Levin, Cohn, Ferris,        David Siegal                           Professional      ¨C                                              $66,564.57
   Glovsky, and Popeo, LLP            dmsiegal@mintz.com                     Services
   P.O. Box 4539                      Tel: 212-935-3000                                        þU
   Boston MA 02212                    Fax: 212-935-3115
                                                                                               ¨D
26 SendBridge Inc                     success@goprimer.com                   Trade Payable     ¨C                                              $60,688.54
   1895 Jackson Street
   Apartment 503                                                                               ¨U
   San Francisco CA 94109
                                                                                               ¨D
27 Providence Health Plans            Ellen Larsen                           Refund Claim      ¨C                                              $52,314.62
   P.O. Box 6456                      ellen.larsen@providence.org
   Portland OR 97228                  Tel: 503-574-7334                                        ¨U
                                                                                               þD
28 S-E, Inc.                          Todd Clevette
                                      todd_clevette@sehamerica.com
                                                                             Trade Payable     ¨C                                              $47,986.34
   4111 N.E. 112th Avenue
   Vancouver WA 98682                                                                          ¨U
                                                                                               ¨D
29 Kekst and Company, Incorporated    Nathan Riggs                           Trade Payable     ¨C                                              $47,451.44
   P.O. Box 1528                      nathan.riggs@kekstcnc.com
   Long Island City NY 11001          Tel: 212-521-4800                                        ¨U
                                                                                               ¨D
30 Tricare South                                                             Refund Claim      ¨C                                              $45,419.96
   P.O. Box 7032
   Camden SC 29021                                                                             ¨U
                                                                                               þD




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                 Page 3
                            Case 19-11938-LSS             Doc 1      Filed 09/04/19         Page 14 of 16




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

         In re:                                                       Chapter 11

         UBIOME, INC.,1                                               Case No. 19-_____ (___)

                                               Debtor.

                             DEBTOR’S STATEMENT OF CORPORATE OWNERSHIP
                                 AND LIST OF EQUITY SECURITY HOLDERS

                   Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

         Procedure, uBiome, Inc., the debtor and debtor in possession in the above-captioned case (the

         “Debtor”) states that the following is a list of all corporations, other than governmental units, that

         directly or indirectly own 10% or more of any class of interests in the Debtor, as well as a list of

         all equity security holders with the power to vote 10% or more of the voting securities of the

         Debtor as of September 3, 2019:

                          Name                                Address                    Class of          Percentage of
                                                                                        Securities           Ownership
             Eight Partners VC Fund I,            501 Second Street,                  Series B            13.93%
             L.P.                                 Suite 300                           Preferred
                                                  San Francisco, CA 94107
             8VC Fund I, L.P.                     501 Second Street,                  Series C            7.40%
                                                  Suite 300                           Preferred
                                                  San Francisco, CA 94107
             8VC Entrepreneurs Fund I,            501 Second Street,                  Series B            0.36%
             L.P.                                 Suite 300                           Preferred
                                                  San Francisco, CA 94107
             8VC Fund Total                                                                               21.69%

             Andreessen Horowitz Fund             2865 Sand Hill Road,                Series A            10.54%
             IV, L.P.                             Suite 101,                          Preferred
                                                  Menlo Park, CA 94025
             Andreessen Horowitz Fund             2865 Sand Hill Road,                Series B            0.52%%
             IV, L.P.                             Suite 101,                          Preferred
                                                  Menlo Park, CA 94025

         1
             The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019). The Debtor’s
             headquarters is located at 360 Langton Street, Suite 301, San Francisco, CA 94103.
01:24996149.3
                        Case 19-11938-LSS       Doc 1    Filed 09/04/19     Page 15 of 16




                       Name                       Address                  Class of     Percentage of
                                                                          Securities      Ownership
             Andreessen Horowitz Fund                                                  11.06%
             IV, L.P. Total
             Jessica Richman2            113 Cherry St #64164                          10.67%
                                         Seattle, WA 98104
             Zachary Apte2               113 Cherry St #64164                          10.67%
                                         Seattle, WA 98104

         2
          Subject to that certain Stipulation and Agreement, executed on June 19, 2019, pursuant to
         which this shareholder, among other things, granted a proxy to Eight Partners VC Fund I, L.P.




01:24996149.3
                              Case 19-11938-LSS                   Doc 1        Filed 09/04/19           Page 16 of 16




Fill in this information to identify the case:

Debtor name         uBiome, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                Schedule H: Codebtors (Official Form 206H)
                Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                Amended Schedule
                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                Other document that requires a declaration    Corporate Ownership Statement and List of Equity Interest Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       09/04/2019                      X /s/ Curtis G. Solsvig III
                                                           Signature of individual signing on behalf of debtor

                                                            Curtis G. Solsvig III
                                                            Printed name

                                                            Acting Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors



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